



THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED 
  ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
  In The Court of Appeals

 
   
     
      
        The State,&nbsp;Respondent,
      
    
  

v.
 
   
     
      
        Jerome McCrea, Appellant.
      
    
  


Appeal From Williamsburg County
  Howard P. King, Circuit Court Judge

Unpublished Opinion No.&nbsp; 2004-UP-603
  Submitted December 1, 2004  Filed December 3, 2004

APPEAL DISMISSED

 
   
     
      
        Assistant Appellate Defender Robert M. Dudek, of Columbia, for Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney General 
          John W. McIntosh and Assistant Deputy Attorney General Donald J. Zelenka, 
          all of Columbia; and Solicitor C. Kelly Jackson, of Sumter, for Respondent.
      
    
  


PER CURIAM:&nbsp; Jerome McCrea was convicted of murder, assault and battery 
  with intent to kill (ABIK), possession of a weapon during the commission of 
  a violent crime, and discharging a firearm at or into a dwelling or occupied 
  structure.&nbsp; He was sentenced to thirty years for murder, twenty years for ABIK, 
  five years for possession of a weapon during the commission of a violent crime, 
  and ten years for discharging a firearm, to be served concurrently.&nbsp; McCreas 
  appellate counsel filed a brief pursuant to Anders v. California, 386 
  U.S. 738 (1967).&nbsp; Counsel additionally submitted a petition to be relieved from 
  representation, asserting there are no directly appealable issues of arguable 
  merit.&nbsp; McCrea did not file a pro se response with the Court.
After a review of the record pursuant to Anders and State v. Williams, 
  305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels 
  petition to be relieved. [1] 
APPEAL DISMISSED.
ANDERSON, STILWELL, and SHORT, JJ., concur.


 [1]  We 
  decide this case without oral argument pursuant to Rule 215, SCACR.

